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                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                 MDL No. 2804
OPIATE LITIGATION                           Case No. 17-md-2804
                                            Judge Dan Aaron Polster

This document relates to:
The County of Cuyahoga v. Purdue
Pharma L.P., et al., Case No. 17-OP-45004

The County of Summit, Ohio, et al. v.
Purdue Pharma L.P. et al.,
Case No. 18-OP-45090



                  MEMORANDUM IN SUPPORT OF DEFENDANTS’
                 MOTION TO EXCLUDE MEREDITH ROSENTHAL’S
                    OPINIONS AND PROPOSED TESTIMONY
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          Defendants move under Federal Rule of Evidence 702 and Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993) and its progeny to exclude Professor Meredith

Rosenthal from offering opinions and testimony regarding causation and damages. Because

Rosenthal’s opinions suffer serious methodological flaws that render them unreliable and

irrelevant to a fact finder’s evaluation of the issues, they should be excluded.

          First, Rosenthal’s opinions do not tie to Plaintiffs’ theory of the case. Rosenthal purports

to calculate the percentage of opioid prescriptions nationwide resulting from all physician

detailing1 by all opioid manufacturers (not just Defendants). In so doing, she includes all detailing

visits in her analysis, regardless of whether they were lawful or unlawful, or if the resulting

prescription was medically necessary; this is inconsistent with Plaintiffs’ claims, which are

centered—as they must be—on harm resulting from Defendants’ unlawful conduct. Moreover,

she assumes without any basis that these detailing contacts were uniform in substance and scope.

In addition, although Plaintiffs’ allegations rely heavily on purported collaboration with third-party

groups and key opinion leaders, she fails to account for this conduct in her analysis. And her

opinions are impermissibly premised on aggregate proof, where she calculates the effect of all

manufacturers’ detailing on total opioid sales, making no attempt to determine whether any

specific Defendant’s promotion increased opioid sales in the Track One Counties. Her opinions

are thus conceptually flawed, irrelevant, and unhelpful to the trier of fact.

          Second, there is no factual support for Rosenthal’s assumption that all detailing was

unlawful. In fact, Plaintiffs’ experts (and Rosenthal herself) refute such a notion. Courts routinely

exclude expert opinions that lack record support—and Rosenthal’s opinions are no exception.



1
      “Detailing” means a sales representative’s physical visit to a prescriber to convey information about the product
      in question. (Ex. 1, Rosenthal Report at ¶ 56; Ex. 2, Rosenthal Dep. at 44:11–19.)
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       Third, Rosenthal makes absurd assumptions designed to give the appearance of a causal

relationship between detailing and opioid sales. For example, she uses a “negative depreciation

rate,” which assumes that a detailing visit to a doctor in the 1990s had an ever-increasing impact

on opioid prescribing that continues to grow to this day. This assumption has zero support in

economic literature and constitutes nothing more than a feeble attempt to “overfit” her model to

ensure her conclusions. Case in point: her model is so flexible that one could replace opioid sales

with another variable—like average annual attendance at Cleveland Indians games—and her

model would find a causal relationship between detailing and baseball game attendance.

       And fourth, Rosenthal’s methodology suffers numerous incurable methodological failures

that render all of her opinions unreliable. Indeed, she relies on and makes medical judgments that

she has no qualifications to support and her models fail to account for numerous economic issues

inherent in regression analysis. Other methodological flaws permeate her opinions.

I.     BACKGROUND

       Throughout discovery, Defendants pressed Plaintiffs for actual, specific evidence showing

that each Defendant caused inappropriate opioid prescriptions that in turn harmed the Track One

Counties. Time and again, however, Plaintiffs resisted this discovery because they were relying

on “statistical and aggregate evidence.” (Doc #606, Discovery Ruling No. 1.) Based on Plaintiffs’

representations about how they sought to prove their case, Special Master Cohen allowed Plaintiffs

to avoid or narrow individualized discovery, but admonished that they did so at their own peril:

       The ultimate question of the requisite level of proof is an issue the Court may have
       to answer at a future stage of litigation, perhaps through orders resolving summary
       judgment or Daubert motions. At this juncture, it is possible only to observe that
       Plaintiffs’ current discovery productions must equal or surpass the proofs that will
       eventually be required. … [I]f Plaintiffs are incorrect, and the Court ultimately
       requires more granular proof of causation than Plaintiffs produce in discovery, then
       Defendants will rightly point to Plaintiffs’ responses to the RFPs as a basis for
       defense judgment. (Id. at 5.)



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       We have now reached the juncture where Plaintiffs’ approach is put to the test—and it fails.

Defendants’ separate summary judgment motions address the legal deficiency of Plaintiffs’

aggregate models given their burden to show that a Defendant’s conduct proximately caused the

harms alleged by the Track One Counties. This Daubert motion separately addresses how—even

assuming that aggregate proof might be sufficient for certain of Plaintiffs’ claims (and it is not)—

Rosenthal’s models fail to meet the standards for admissibility of expert testimony.

       Plaintiffs asked Rosenthal to determine whether the manufacturers’ unlawful promotion of

opioids since 1995 caused an increase in opioid use, and if so, to what degree. (Ex. 1, Rosenthal

Report at ¶ 8.) Plaintiffs’ counsel instructed her to assume that every instance of physician

detailing was unlawful. Rosenthal prepared regression analyses supposedly designed to measure

the effect of that detailing on the number of milligrams of morphine equivalent (“MME”) sales for

all opioids at issue. (Ex. 1, Rosenthal Report at ¶¶ 58–60.) As discussed below, however,

Rosenthal’s analyses cannot be squared with Plaintiffs’ theory of the case and instead heavily rely

on incorrect and unproven assumptions. These fatal flaws render her opinion irrelevant and

unreliable, and thus, inadmissible.

II.    ARGUMENT

       A.      Rosenthal’s Opinions Are Not Relevant as They Do Not “Fit” Plaintiffs’
               Theory of the Case.

       To be admissible, expert testimony must “help the trier of fact to understand the evidence

or to determine a fact in issue.” F.R.E. 702(a). In scrutinizing proposed expert testimony, courts

routinely exclude causation experts who offer opinions that fail to connect the alleged misconduct

to the alleged injury. For example, in Botnick v. Zimmer, Inc., this Court held that Daubert

required the plaintiff’s causation expert’s testimony to “exhibit relevancy, connecting his theory

of an alleged defect in the medical device to [the plaintiff’s] injury.” 484 F. Supp. 2d 715, 721



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(N.D. Ohio 2007) (emphasis added). In excluding the expert, the Court determined that the

testimony lacked that critical connection, as it was “not driven, as it must be, by the context of the

issues in this case.” Id. Other federal courts have reached similar conclusions. See Boca Raton

Cmty. Hosp., Inc. v. Tenet Health Care Corp., 582 F.3d 1227, 1234–35 (11th Cir. 2009) (expert

excluded because opinion was inconsistent with plaintiffs’ liability theory); Grp. Health Plan, Inc.

v. Philip Morris USA, Inc., 344 F.3d 753, 761 (8th Cir. 2003) (same).

       Here, Rosenthal’s opinions are inconsistent with Plaintiffs’ theory and thus will not help

the trier of fact. Plaintiffs’ theory is that the manufacturers engaged in “a massive marketing

campaign premised on false and incomplete information,” in which they “relentlessly and

methodically, but untruthfully, asserted that the risk of addiction was low when opioids were used

to treat chronic pain.” (Doc #1466, Summit 3AC at ¶ 10 (emphases added).) In addition, Plaintiffs

assert that each manufacturer Defendant carried out this illegal marketing scheme by disseminating

its allegedly false marketing messages through purportedly neutral mediums including so-called

“front groups,” “key opinion leaders” (“KOLs”), and continuing medical education (“CME”)

programs. (Id. at ¶ 346.) Consequently, Plaintiffs seek to recoup the “extraordinary costs and

losses that are related directly to Defendants’ illegal actions.” (Id. at ¶ 21 (emphasis added).)

       Even if Rosenthal’s model was reliable—and as illustrated below, it is not—her causation

and damages opinions do not fit Plaintiffs’ theory. Her opinions should be excluded for the

following four reasons, each of which serves as an independent basis for exclusion:

       •   Rosenthal’s model compares the effect of both lawful and allegedly unlawful detailing
           to opioid prescriptions. She does not attempt to isolate what percentage of opioid
           prescriptions are linked to any unlawful versus lawful conduct or what percentage of
           prescriptions are for medically necessary treatments and thus would have been
           prescribed anyway.

       •   Rosenthal assumes without any basis that all detailing conduct was the same.




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       •   Rosenthal does not attempt to measure Defendants’ purported marketing through front
           groups, KOLs, or CME programs.

       •   Rosenthal’s direct model relies on aggregate proof, which does not permit assigning
           liability to any Defendant because it does not show how any particular Defendant’s
           alleged misrepresentations resulted in any opioid prescriptions.

               1.     Rosenthal Does Not Purport to Measure the Effects of Defendants’
                      Allegedly Unlawful Conduct.

       Based on an instruction from counsel, Rosenthal assumes that all detailing by the

manufacturer Defendants from 1995 to the present was unlawful. (Ex. 1, Rosenthal Report at ¶ 75;

Ex. 2, Rosenthal Dep. at 46:5–9, 149:24–150:7.) Notwithstanding that there is physician detailing

and other forms of promotion that are perfectly lawful, Rosenthal does not exclude lawful detailing

contacts from her model—or even attempt to do so. Nor has she attempted to measure the number

of medically unnecessary prescriptions written due to lawful versus unlawful conduct; she simply

assumes that Plaintiffs can recover for all opioid sales “whether or not they resulted in medically

necessary prescriptions.” (Ex. 2, Rosenthal Dep. at 150:8–152:21.) Indeed, she conceded the

following point: “Q. Stated differently, your model will calculate causation by defendants’

marketing even for medically necessary prescriptions? A. It does not distinguish. And to be

clear, whether or not there were medically necessary prescriptions caused by the misconduct, I

can’t say for sure.” (Id. at 152:22–153:5 (emphasis added).)

       Rosenthal’s assumption that all detailing was unlawful—which, as discussed below, has

no factual support—and her assumption that all prescriptions resulted from unlawful conduct as

opposed to proper medical judgment serve as the foundation for her causation analysis, and thus,

all of her opinions concerning the effects of opioid promotion hinge on them. Plaintiffs’ claims

here, however, relate exclusively to Defendants’ alleged unlawful promotion and those

prescriptions caused by such unlawful promotion. Rosenthal’s model does nothing to test or

support these claims. Instead, she assumes an overly broad set of facts that are inconsistent with


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Plaintiffs’ theory and represent a dramatic diversion from reality. Thus, Rosenthal’s opinions on

causation will not assist the trier of fact in assessing whether and to what extent Defendants’

alleged unlawful promotion affected opioid prescriptions or sales.

       Boca Raton Community Hospital, Inc. shows as much. There, a group of hospitals sued a

hospital chain, alleging that the defendant rigged a Medicare program designed to repay hospitals

for out-of-pocket-costs by inflating its charges to the program. 582 F.3d at 1229. The plaintiffs’

expert attempted to show that the defendant’s improper overcharging caused the threshold to

increase by offering an opinion as to what the threshold would have been absent the defendant’s

charges. Id. at 1231. The district court, however, excluded the testimony because the expert made

no attempt to determine what the defendant could have lawfully charged. Id. at 1231–32. And the

Eleventh Circuit affirmed “because [the expert’s] injury and damages opinion was not confined to

charges that its liability theory would consider unlawful, it was too broad.” Id. at 1233–34.

       Likewise here, Rosenthal’s direct model fails to distinguish lawful from unlawful conduct,

even though Plaintiffs are not seeking and cannot obtain recovery for lawful acts. Accordingly,

her opinion does not fit the theory of the case and should be excluded.

               2.      Rosenthal Impermissibly Treats All Detailing Contacts as Uniform.

       To measure the manufacturers’ promotion, Rosenthal counts only the total number of times

each manufacturer Defendant’s sales representatives detailed prescribers, regardless of what

information was actually communicated in those detailing visits. (See, e.g., Ex. 2, Rosenthal Dep.

at 42:23–43:22.) By relying strictly on an arithmetic count of visits in lieu of evaluating the

substance and context of those visits, Rosenthal effectively assumes that all detailing conduct is

the same. Indeed, she admits that her model includes detailing contacts in which (1) the sales

representative had no interaction with a prescriber; (2) the detail did not result in any change in

the prescriber’s behavior; (3) the prescriber’s prescription rate actually decreased after the detail;


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(4) the prescriber never prescribed the medicine covered in the detail; (5) the prescriber was a lead

author of journal articles discussing the risks of opioid addiction; (6) the prescriber was an

oncologist or hospice provider prescribing opioids for end-of-life cancer pain (which even

Plaintiffs agree is appropriate); or (7) the prescriber was a surgeon or performs trauma intervention

in an emergency room. (Ex. 2, Rosenthal Dep. at 735:23–740:4.) Stated otherwise, Rosenthal’s

model includes all detailing contacts regardless of who was detailed, what was said, whether there

was an effect on prescribing behavior, and if a meeting actually occurred. (Id. at 740:14–741:3.)

       Further, Rosenthal’s model also includes detailing that was solely “rivalrous,” meaning

detailing that was designed to convert doctors who were prescribing one kind of opioid to another.

(Id. at 90:3–16.) By definition, such marketing has no effect on overall number of opioid

prescriptions. And as the discovery record shows, for some medications and some manufacturers,

particularly ones that entered the market later in time, marketing efforts were entirely rivalrous.

       Rosenthal’s failure to differentiate the nature and effect of each manufacturer’s unique

detailing efforts results in opinions that fail to reflect reality and thus are unreliable. See Pomella

v. Regency Coach Lines, Ltd., 899 F. Supp. 335, 342 (E.D. Mich. 1995) (excluding testimony when

expert assumed uniform road conditions when the evidence showed that was not the case).

               3.      Rosenthal’s Model Does Not Measure the Effects of Defendants’ Alleged
                       Unlawful Promotion through Front Groups, KOLs, and CME Programs.

       Rosenthal’s sole focus on in-person detailing fails to account for the alleged unlawful

promotion through front groups, KOLs, and CMEs. Plaintiffs contend that the manufacturers used

these mediums to disseminate false information through “seemingly neutral and credible third

parties.” (Summit 3AC at ¶¶ 171, 347.) Yet Rosenthal fails to account for these activities at all.

(See Ex. 2, Rosenthal Dep. at 145:6–18, 161:10–163:15.) According to Rosenthal’s direct model,

detailing alone explains 99 percent of all MME sales over the preceding two decades, meaning



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that the other conduct and activities that Plaintiffs challenge and spent considerable time and

resources investigating had no discernible effect. (Id. at 388:19–389:4, 526:17–21.)

       Rosenthal’s decision to examine only detailing and to ignore other forms of promotion

results in overly broad causation opinions that conflict with Plaintiffs’ theory. Further, this is not

something that Rosenthal can correct easily. As Rosenthal herself admitted, she was not “asked

to look at” how KOLs influenced prescribing standards—which is “more of a sort of qualitative

piece” (id. at 145:6–18)—and if the conclusion reached for the manufacturers is that detailing is

entirely lawful but they engaged in other conduct found to be unlawful (like influencing KOLs),

“[i]t would require a new but-for analysis.” (Id. 164:20–165:18.)

       At the end of the day, even if Rosenthal’s model was reliable, it does nothing more than

measure the effect of both lawful and allegedly unlawful detailing on opioid prescriptions in the

aggregate. Put differently, Rosenthal’s opinions are reduced to the unobjectionable but misguided

conclusion that detailing correlates with sales. Rosenthal’s opinions do not tie to Plaintiffs’ theory

of liability, and thus, her opinion and proposed testimony should be excluded.

               4.      Rosenthal’s Market-Share Model Is Impermissibly Premised on Aggregate
                       Proof.

       Rosenthal’s opinions also should be excluded because her model does not connect any

particular Defendant’s alleged misconduct to any opioid prescription that Plaintiffs claim such

misconduct caused. Indeed, Rosenthal’s model “is not designed to assign liability to individual

manufacturers” (Ex. 2, Rosenthal Dep. at 164:4–9)—the very causation issue her testimony

presumably should address. Indeed, Rosenthal concedes that she is “interested in understanding

how marketing as a whole drove sales in this market.” (Id. at 80:16–18.) See Petre v. Norfolk S.

Ry. Co., 458 F. Supp. 2d 518, 543 (N.D. Ohio 2006) (holding that a plaintiff cannot prove

proximate cause where “the cause of injury may be reasonably attributed to things for which the



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defendant is not responsible as to things for which he is responsible.”) (citations omitted). Instead,

Rosenthal’s models consider only the aggregate effect of marketing (Ex. 2, Rosenthal Dep. at

215:4–18)—that is, “total marketing [versus] total sales” for all manufacturers at the national level.

(Id. at 122:11–23.)

       In fact, Rosenthal admits that she does not even “know whether an individual

manufacturer-level model would be feasible” (id. 160:7–11) and that she “ha[s] not conducted

[her] analysis at the level of an individual defendant” (id. 500:11–19.) She also clarified that “the

purpose of Table 3” in her report—which ostensibly breaks down the aggregate harm by each

manufacturer Defendant—“is not to allocate [liability] to defendants” but to provide “an aggregate

measure of impact associated with defendants’ promotion.” (Id. 441:13–442:1, 439:20–440:1; see

Ex. 1, Rosenthal Report at ¶ 52 & Table 3.) Thus, even her Defendant-by-Defendant breakdown

is meant to show only that she “could remove the conduct of one of the defendants and still

calculate aggregate impact.” (Ex. 2, Rosenthal Dep. at 441:23–442:1.)

       Consequently, Rosenthal’s models do not allow her to assign liability to individual

manufacturers. Indeed, she testified as follows:

       Q. For a manufacturer that was not part of the market before it grew, and came into the
       market after it had been expanded, why is it the case in your model that that manufacturer
       is part of the aggregate analysis and not subject to some other type of causation allocation?

       A. Nowhere in my assignment was I asked to look at liability for individual
       manufacturers. I’m only trying to quantify aggregate impact. To the extent that I
       subtract individual defendants, it’s really only to get to a different whole, it’s not to assign
       liability to an individual defendant.

(Ex. 2, Rosenthal Dep. 340:23-341:13 (emphasis added).) Thus, her opinions do not (and cannot)

assist the fact-finder in identifying which (if any) prescriptions were caused or written by any

particular Defendant’s allegedly false marketing. See Sergeants Benevolent Ass’n Health &

Welfare Fund v. Sanofi-Aventis U.S. LLP, 806 F.3d 71, 94 (2d Cir. 2015) (“a RICO plaintiff must



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always show that the defendant’s conduct caused an actual, quantifiable injury”). As she admits,

her model would break down if it were disaggregated by drug, by manufacturer, by detailing

content, by detailing duration, or by any other basis less than the opioid-class level. (See, e.g., Ex.

2, Rosenthal Dep. at 196:10–25, 202:3–12, 204:15–205:25, 201:12–211:2, 332:1–24, 344:3–6.)

       In sum, Rosenthal’s opinions are not admissible because they do not fit Plaintiffs’ claims.

       B.      Rosenthal’s Core Assumption that All Manufacturer Promotion Was
               Unlawful and All Resulting Prescriptions are Tainted has No Basis in Fact.

       Rosenthal’s core assumption that all Defendant manufacturer promotion was unlawful is

provably wrong. Even Plaintiffs’ own experts refute such a notion. Professor David Cutler

authored an article explaining that drug promotion can increase patient welfare. See Ex. 3, David

M. Cutler et al., The Value Of Antihypertensive Drugs: A Perspective On Medical Innovation,

Health Affairs 26, no. 1 (2007). Matthew Perri III, Plaintiffs’ marketing expert, acknowledges

that pharmaceutical promotion serves the important purpose of providing information to

prescribers to keep “their drug knowledge and their disease knowledge” current. (Ex. 4, Perri Dep.

at 111:14–23.) And David Kessler, Plaintiffs’ regulatory expert, opines that certain detailing

activities are appropriate. (Ex. 5, Kessler Dep. at 759:17–760:8.) Even Rosenthal concedes that

“there is such a thing as lawful marketing, and it does generate sales. Some of those sales may be

medically necessary, some may be medically unnecessary, even if there’s no unlawful conduct.”

(Ex. 2, Rosenthal Dep. at 153:25–154:6.)

       Notwithstanding these opinions, Rosenthal’s own beliefs, and the fact that the FDA

expressly permits pharmaceutical promotion, Rosenthal’s model improperly treats all detailing as

unlawful and all resulting MME sales as caused by unlawful conduct. For example, Rosenthal

assumes that it is unlawful for a Defendant manufacturer’s sales representative to do nothing more

than relay information from an FDA-approved package insert or corrective statements. (Ex. 2,



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Rosenthal Dep. at 215:19–218:14.) Rosenthal blindly followed counsel’s instruction to assume

that all promotion was unlawful—an assumption that lacks factual support—and thus, her opinions

are unreliable. See In re Wellbutrin XL Antitrust Litig., 308 F.R.D. 134, 146 (E.D. Penn. 2015)

(“Dr. Rosenthal states that she was ‘instructed by counsel to work from the theory’ that Class

membership is a function of who pays for the drug at the time of the transaction. … An instruction

from counsel is not a sound basis on which to draw an economic conclusion.”); Stecyk v. Bell

Helicopter Textron, Inc., 295 F.3d 408, 414 (3d Cir. 2002) (“It is an abuse of discretion to admit

expert testimony which is based on assumptions lacking any factual foundation in the record.”).

       C.      Rosenthal Makes Baseless Assumptions Designed to Ensure Her Conclusions.

       Rosenthal’s direct regression model purports to show that over 99 percent of opioid

prescriptions were dispensed solely on the basis of manufacturer detailing. (Ex. 1, Rosenthal

Report at ¶ 72; Ex. 2, Rosenthal Dep. at 388:22–389:4.) This conclusion not only is at odds with

Plaintiffs’ claims concerning front groups and KOLs but also shows that Rosenthal contorted and

“overfit” her model to ensure that the aggregate detailing data mapped perfectly onto the aggregate

level of MME sales, ignoring economic literature and common sense.

       For example, Rosenthal estimated a negative depreciation rate for promotion, which means

that a detail to a doctor will cause that doctor’s opioid prescribing to increase exponentially over

time. (Ex. 2, Rosenthal Dep. at 247:24–249:10.) Stated differently, Rosenthal’s model increases

the effect of marketing over time: thus, a detail in 1995 has more impact on prescribing today than

it did in 1995, 2000, or 2010—and will have even more impact tomorrow. (See id. at 253:17–

254:17.) Not only is such a theory of the forever-ascending potency of marketing illogical, but

Rosenthal expressly recognized that no economic literature supports it. (Id. at 259:25–260:6.)

       Cutler admitted during his deposition that he has never observed a negative depreciation

rate in the literature. (Ex. 6, Cutler Dep. at 178:19–179:2.) Henry Grabowski also testified that


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he has never seen a negative depreciation rate, as consultants confirmed through a diligent

literature search. (Ex. 7, Grabowski Dep. at 38:12–39:7.) And authoritative literature establishes

that people actually forget marketing messages if they are not repeated over time (i.e., the effects

of marketing depreciate over time). See Ex. 8, Mark Hirschey, Intangible Capital Aspects of

Advertising and R&D Expenditures, The Journal of Industrial Economics 30(4) at 375 (1982)

(“Consumers tend to forget brands and continuous advertising is needed to maintain a given rate

of sales.”)2

        Courts routinely exclude purported expert opinion lacking support in literature. In Ashland

Hospital Corp. v. Affiliate FM Insurance Co., the court excluded testimony, finding that the expert

was not aware of any data, studies, research, tests, or journals to support his opinion. The court

further explained that “[t]his lack of methodology and lack of supporting literature are grounds to

exclude an expert opinion.” 2013 WL 3213051, at *6 (E.D. Ky. June 24, 2013).3

        Exclusion is particularly appropriate here. Indeed, because Rosenthal manipulated her

direct model to ensure her conclusions, it contains so much flexibility that, if one were to replace

MME sales in her model with data from NASA concerning the monthly average of daily sunspots,

the price of gold, or the average yearly attendance at Cleveland Indian baseball games, one

applying her model would find a causal relationship between physician detailing on the one hand

and sunspots, gold prices, or baseball attendance on the other. (Ex. 9, Kyle Dep. at 151:3–21; Ex.



2
    Another example of Rosenthal overfitting her model is her decision to alter her direct model at three arbitrary
    time periods to account for different degrees of promotional effectiveness. (Ex. 1, Rosenthal Report at ¶¶ 71–72;
    Ex. 2, Rosenthal Dep. 289:21–290:5.) This shows a lack of reliability.
3
    See also Nelson v. Tenn. Gas Pipeline Co., 243 F.3d 244, 251 (6th Cir. 2001) (the lack of peer review and
    publication of the expert's methodology was “plainly relevant” to the reliability of his theory); Mohney v. USA
    Hockey, Inc., 300 F. Supp. 2d 556, 572 n. 11 (N.D. Ohio 2004) (the novelty of the expert’s analysis made the lack
    of testing “glaring and egregious,” and “neither the Court nor any expert testifying in this case has been able to
    identify any tests or scholarly literature” that mention the analysis the expert opined on).



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10, Kyle Report at ¶ 135; Ex. 11, Ketchum Report at ¶ 179.) Conversely, because she fits her

model to the data, her model does not accurately predict real-world events that may have

influenced opioid prescribing, like changing medical standards and drug reclassification. (See Ex.

2, Rosenthal Dep. at 311:18–314:3 (model predicts 1997 American Pain Society statement

supporting opioid use for pain actually decreases MME sales in a way that “did not conform to

her expectations”); id. at 316:18–317:19 (rescheduling hydrocodone from Class III to Class II

“counterintuitively” suggested an increase in MME sales).) Such a model that prioritizes fit over

logic deserves no credence and cannot be offered to a jury as a reliable means to prove causation.

       D.      Rosenthal’s Methodology Suffers from Other Serious Methodological Flaws.

               1.     Rosenthal’s “Thought Experiment” Relies on Unfounded Medical
                      Opinions and Arithmetic.

       Equally egregiously, in her report, Rosenthal conducts what she describes as a “thought

experiment” to test whether the increase in opioid MMEs in the United States could be explained

by “previously ‘under-treated’” pain—i.e., medically appropriate opioid prescriptions. (See Ex. 1,

Rosenthal Report at ¶¶ 90–102.) To do this, Rosenthal first takes Plaintiffs’ clinical experts’

definition of a medically appropriate opioid prescription to conclude that opioids are appropriate

for terminal cancer, trauma, and surgery patients only. (See id. at ¶ 92.) For each of these three

categories, she then multiplies (1) the number of patients treated, (2) the daily dose in MMEs, and

(3) the duration of treatment in days (the latter two of which she estimates based on her review of

medical literature). (See id. at ¶ 94.) She then sums the MMEs for the three categories and

compares it to the total MMEs sold. (See id. at Table 6.)

       Rosenthal’s “thought experiment” is improper because it depends on other experts’ flawed

and unsupported medical assumptions of which opioid uses are medically appropriate. Rosenthal

readily admits that she is not a medical doctor or an expert in pain management, addiction



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medicine, or opioid use disorder. (Ex. 2, Rosenthal Dep. at 14:2–16:3.) Thus, she concedes that

“[a]ll of the underlying assumptions in this section have been developed in reference to the

opinions of the plaintiffs’ clinical experts, including Dr. Schumacher and Dr. Parran.” (Ex. 1,

Rosenthal Report at ¶ 92.) Rosenthal’s reliance on Dr. Parran is improper given that Plaintiffs

have withdrawn him as a witness. See Mike’s Train House, Inc. v. Lionel, L.L.C., 472 F.3d 398,

409 (6th Cir. 2006). And Rosenthal’s reliance on Dr. Schumacher is improper as this Court and

others have repeatedly confirmed that “[a] scientist, however well credentialed [s]he may be, is

not permitted to be the mouthpiece of a scientist in a different specialty.” In re Whirlpool Corp.

Front-Loading Washer Prod. Liab. Litig., 45 F. Supp. 3d 724, 741 (N.D. Ohio 2014) (quoting

Dura Auto. Sys. of Ind., Inc. v. CTS Corp., 285 F.3d 609, 614 (7th Cir. 2002)).

       Rosenthal’s reliance on Plaintiffs’ clinical experts is particularly problematic because they

endorse an extremely narrow view of the permissible uses of opioids—a view that defies the FDA-

approved uses for such products, all prevailing medical standards during the relevant time period,

and even current medical standards that evolved in light of the opioid crisis, like those put forth

by the CDC. (Ex. 10, Kyle Report at ¶¶ 149–153.) Consequently, Rosenthal’s “appropriate use”

analysis includes no room at all for the use of opioids to treat chronic pain, or even for cancer

patients outside of hospice or non-cancer patients in hospice. (Ex. 2, Rosenthal Dep. at 636:7–

19.) In fact, Rosenthal contradicts her own analysis, conceding that, “according to their label,”

“opioids have legitimate medical uses for certain diseases and conditions” and agreeing “that the

approved labels include those conditions for which the FDA has deemed them appropriate.” (Id.

at 21:16–22:1.) In sum, Rosenthal adopts the flawed opinions of Plaintiffs’ other experts who

“exercised ‘independent judgment’”—dubious as it may be—“that [is] ‘beyond [her] ken.’” See

Malletier v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 666 (S.D.N.Y. 2007) (citation omitted).




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       Beyond blindly adopting Plaintiffs’ clinical experts’ judgments, Rosenthal also makes her

own medical assessments—decisions she has no qualifications to make—to cherry-pick exemplar

dosages for the three narrow treatments she picks from medical guidelines. For example, to

calculate the appropriate opioid dosage for patients suffering from surgical and trauma pain,

Rosenthal selects 30 MMEs over seven days based on MD Anderson Cancer Center’s

Postoperative Pain Management Guidelines. (Ex. 1, Rosenthal Report at ¶ 99; Ex. 2, Rosenthal

Dep. at 710:5–18.) Rosenthal not only fails to explain why she chose these Guidelines, but a

review of the Guidelines during her deposition revealed that Rosenthal selected dosages within a

provided range (i.e., 20 to 40 mg of immediate-release hydrocodone) after consulting with counsel

and other experts. (Ex. 2, Rosenthal Dep. at 716:12–24.) As Rosenthal admitted, she “was advised

to focus on hydrocodone and was told that 30 milligrams was a reasonable baseline. Again,

assuming that there’s some patients who will only get 20, some patients who will get more.” (Id.)

       Once stripped of the medical judgments that she is not qualified to make, Rosenthal’s

“thought experiment” does nothing more than apply arithmetic, multiplying Rosenthal’s selected

“appropriate” doses for cancer, trauma, and surgical patients by data reflecting the number of such

patients in the Track One Counties. But an “expert is precluded from offering testimony that is

not based on any specialized knowledge, but rather involves ‘basic calculations.’” Scott v.

Chipotle Mexican Grill, Inc., 315 F.R.D. 33, 56 (S.D.N.Y. 2016) (citations omitted). Indeed, at

her deposition, Rosenthal could not identify a single treatise or methodological paper supporting

the work she did in applying her “thought experiment.” (Ex. 2, Rosenthal Dep. at 627:9–628:2.)

Rather than employing a peer-reviewed methodology, Rosenthal created her own, which “had not

been tested, had not been subjected to peer review, had no controlling standards, had no

demonstrable showing of support within the scientific community, and was produced solely for




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purposes of the instant litigation.” Kentucky Speedway, LLC v. Nat’l Ass’n of Stock Car Auto

Racing, Inc., 588 F.3d 908, 916 (6th Cir. 2009). She then applied it to the unsupported medical

judgments of other experts and her own untrained medical assessments. Such an opinion is

inadmissible under Daubert and must be excluded.

               2.      Rosenthal’s Regression Models Ignore Other Basic Economic Principles.

       Rosenthal’s direct and indirect regression models also are fundamentally flawed because

they ignore basic economic principles and statistical theories to arrive at outcome-driven results.

       To measure the effect of detailing on prescribing, Rosenthal employs what is called a

“time-series” regression, which examines patterns over time for a single unit of analysis—here,

MME sales. (Ex. 1, Rosenthal Report at ¶ 58.) Like all regression models, time-series models

require certain assumptions about the underlying data, one of which is that the data be “stationary,”

meaning that fluctuations in the data moving in the same direction through time are not a function

of time. See Ex. 12, R. Carter Hill and William E. Griffiths, Principles of Econometrics at 476

(John Wiley & Sons, Inc., 4th ed. 2011). Rosenthal admits that “nonstationarity” is one of the

“well-known limitations of any time series model” (Ex. 2, Rosenthal Dep. at 134:10–25), and can

produce “spurious results” (id. at 138:16–20)—meaning that an “apparently significant regression

results from unrelated data.” See Ex. 12, Principles of Econometrics at 482. And Rosenthal

concedes that nonstationarity could cause her model to overstate the effect of promotion on

prescriptions. (Ex. 2, Rosenthal Dep. 139:19–24.)

       At her deposition, Rosenthal admitted that she did not know if MME sales—the dependent

variable in her model—were stationary or nonstationary. (Id. at 139:13–15.) And since she did

not know if her data inputs were stationary, she made no effort to test for or correct any

nonstationarity. (Id. at 139:25–140:4.) Because Rosenthal did not even test to see if her model

overcomes the stationarity problem inherent in all time-series models, she cannot know if she


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overstates the effect of promotion on sales. Thus, her opinion is unreliable. See Dover v. British

Airways, PLC (UK), 254 F. Supp. 3d 455, 463–65 (E.D.N.Y. 2017) (concluding that expert’s

explanation on nonstationarity of the underlying data was insufficient).

        Rosenthal’s model also suffers from endogeneity bias, which likewise could cause her to

overstate the effect of promotion on prescribing. Endogeneity occurs when there is a correlation

between the explanatory variable and error term. See Ex. 13, Peter Kennedy, A Guide to

Econometrics at 139 (6th ed. 2008). As relevant here, detailing (the explanatory variable) and

opioid sales (the dependent variable) are simultaneously determined, or endogenous, because

pharmaceutical companies generally send sales representatives to doctors who are prescribing their

products rather than to new doctor prospects. Consequently, one does not know if promotion

causes an increase in sales or if sales drive promotion. Put differently, as high-volume prescribers

are both more likely to be detailed by manufacturers and are more likely to be open to prescribing,

it is unknown which variable drives the other. (Ex. 2, Rosenthal Dep. at 330:25–331:13.)

        Rosenthal admits that she never tested for endogeneity, even though she concedes that such

tests exist. (Ex. 2, Rosenthal Dep. at 336:16–337:21.) In fact, she has tested for endogeneity in

numerous other cases using a test called the “instrumental variables methodology.” (Id. at 337:22–

338:4.) Yet she did not employ that or any other test here.4 Rosenthal’s failure to test her theories

renders her opinions unreliable.

        In her indirect regression model, Rosenthal attempts to explain the effect of marketing on

opioid prescriptions by supposedly accounting for all of the other variables that possibly could



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    As she stated, “Q. What have you done to answer the individualized question of whether targeting certain
    physicians by the manufacturers in this case was the cause of additional MMEs as opposed to the effectiveness
    of the marketing overall? A. That question is not relevant to my charge. I want to understand what is the total
    effect. I have -- I do not know why the court would want to understand what aspects of targeting of specific
    physicians that drive marketing increases.” (Ex. 2, Rosenthal Dep. 86:9–21.)



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explain the increase in opioid prescriptions over the two decades that she examines. (See Ex. 1,

Rosenthal Report at ¶ 79.) Yet Rosenthal omits key variables that might explain the increase in

opioid prescriptions over the relevant time period (e.g., the number of military veterans, doctors,

hospitals, or pill mills in a Track One County). Her omissions include variables that Plaintiffs

allege drove the increase, like the medical guidelines for the treatment of pain (see Ex. 2, Rosenthal

Dep. at 670:2–5) and the increase in surgery- and trauma-related opioid prescriptions that she

decided to include in her “thought experiment” (id. at 567:23–568:21). They also include external

factors that she concedes might drive physicians’ prescribing habits, like patient preference,

loyalty to certain classes of drugs, and drug reimbursement policy. (Id. at 89:3–90:1.) See Reed

Const. Data Inc. v. McGraw-Hill Cos., 49 F. Supp. 3d 385, 400 (S.D.N.Y. 2014) (“to be

admissible, a regression analysis must control for the ‘major factors’ that might influence the

dependent variable”), aff’d, 638 F. App’x 43 (2d Cir. 2016). It is thus unsurprising that her indirect

model estimates that 67 percent of all opioid prescriptions dispensed are attributable to

Defendants’ aggregate marketing efforts—over 20 percent more than her direct model estimates.

(See Ex. 1, Rosenthal Report at Table 2 & Table 3.) The wildly divergent outcomes of her two

models highlight that neither is the result of sound economic methodology for regression models.

III.   CONCLUSION

       For the foregoing reasons, the Court should exclude Rosenthal’s opinions and proposed

testimony.




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                               CERTIFICATE OF SERVICE

       I, Donna M. Welch, hereby certify that the foregoing document was served via the

Court’s ECF system to all counsel of record.



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